       Case 2:19-cv-01170-MSG Document 27 Filed 07/11/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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 STEWART SMITH,                                               CIVIL ACTION

                Plaintiff,

                       v.                                     No. 19-cv-1170

 EGV COMPANIES, INC.,

                Defendant.                                          FILED
                                                                    JUL ff 2019
                                                                KATE~atJt
                                            ORDER             BY,           ~~rj((


       AND NOW, this 10th day of July, 2019, it having been reported that the issues between

the parties in the above action have been settled and pursuant to Local Rule of Civil Procedure

41.1 (b ), it is hereby ORDERED that the above action is DISMISSED pursuant to agreement of

counsel wifuout costs. The Court of Clerk is directed to mark this action closed.



                                                     BY THE COURT:
